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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 0:19-cv-60597-DPG

  ROBERT HOSSFELD, individually
  and on behalf of others similarly situated,

         Plaintiff,

  v.

  AMERICAN FINANCIAL
  SECURITY LIFE INSURANCE
  COMPANY, et al.,

        Defendants.
  _____________________________________/

    DEFENDANTS’ JOINT UNOPPOSED MOTION FOR EXTENSION TO FILE REPLY
     BRIEF IN SUPPORT OF DEFENDANTS’ SUPPLEMENTAL JOINT MOTION TO
              DISMISS PLAINTIFF’S SECOND AMENDED COMPLAINT

         Defendants, American Financial Security Life Insurance Company, Federal Insurance

  Company, Health Insurance Innovations, Inc., Med-Sense Guaranteed Association, National

  Congress of Employers, Inc., National Benefit Builders, Inc., Rx Helpline LLC, and Teledoc

  Health, Inc. (“Defendants”), by and through their undersigned counsel, hereby move for an

  extension of time to file a Reply Brief in support of their Supplemental Joint Motion to Dismiss

  Plaintiff’s Second Amended Class Action Complaint (Doc. 178), and in support state as follows:

         1.      On November 13, 2020, Defendants filed their Supplemental Joint Motion to

  Dismiss Plaintiff’s Second Amended Class Action Complaint for Lack of Subject Matter

  Jurisdiction (Doc. 178).

         2.      On December 4, 2020, Plaintiff filed his Opposition to Defendants’ Supplemental

  Joint Motion to Dismiss (Doc. 181).




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         3.      Defendants’ Reply Brief in support of their Supplemental Joint Motion to Dismiss

  is due Friday, December 11, 2020.

         4.      Due to the need to coordinate a Joint Brief among six law firms representing eight

  defendants, as well as pandemic disruption issues, Defendants request an extension of time until

  Monday, December 21, 2020.

         WHEREFORE, Defendants respectfully request that this Court enter an Order extending

  the time to file their Reply Brief in support of their Joint Supplemental Joint Motion to Dismiss

  and grant Defendants such further relief as the Court may deem appropriate.

                           LOCAL RULE 7.1(A)(3) CERTIFICATION

         Undersigned counsel for Defendants certify they have conferred with counsel for Plaintiff

  who has indicated that Plaintiff does not oppose the relief requested herein.

         Respectfully submitted this 10th day of December, 2020.


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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that the foregoing document was filed with the Clerk of Court using

  the Court’s CM/ECF system on this 10th day of December, 2020, which will generate notification

  to all counsel of record or pro se parties identified below, thereby notifying all parties of record.



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